                      Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 1 of 32 Page ID #:128



                                   1   SARAH CARLSON (SBN 344266)
                                       sarah.carlson@dentons.com
                                   2   DENTONS US LLP
                                       4655 Executive Drive, Suite 700
                                   3   San Diego, CA 92121
                                       Telephone: (619) 236 1414
                                   4   Facsimile: (619) 232 8311
                                   5   JUDITH SHOPHET SIDKOFF (SBN 267048)
                                       judith.sidkoff@dentons,com
                                   6   DENTONS US LLP
                                       601 South Figueroa Street, Suite 2500
                                   7   Los Angeles, CA 90017-5704
                                       Telephone: (213) 623-9300
                                   8   Facsimile: (213) 623-9924
                                   9   Attorneys for Defendant
                                       AROVAST CORPORATION
                                  10
                                  11                         UNITED STATES DISTRICT COURT
                                  12                        CENTRAL DISTRICT OF CALIFORNIA
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                  13
       DENTONS US LLP



         619 236 1414




                                  14   JEANNETTE FINCH and NAM TAO,                No. 8:23-CV-00599 JWH (JDEx)
                                       individually and on behalf of all others
                                  15   similarly situated,                         DEFENDANT’S MEMORANDUM
                                                                                   IN SUPPORT OF MOTION TO
                                  16                  Plaintiff,                   DISMISS PLAINTIFF’S CLASS
                                                                                   ACTION COMPLAINT FOR
                                  17          v.                                   DAMAGES
                                  18   AROVAST CORPORATION d/b/a                   [Fed. R. Civ. P. 12(b)(1) and (6)]
                                       COSORI CORPORATION,
                                  19                                               Date: September 8, 2023
                                                      Defendant.                   Time: 9:00 a.m.
                                  20                                               Dept.: Courtroom 9D
                                                                                   Judge: John W. Holcomb
                                  21
                                                                                   Date Action Filed: April 5, 2023
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28

                                                                                  -1-                                   .
                      Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 2 of 32 Page ID #:129



                                   1                                           TABLE OF CONTENTS
                                   2
                                                                                                                                            Page
                                   3   TABLE OF AUTHORITIES ...................................................................................... 3
                                   4   INTRODUCTION ...................................................................................................... 9
                                   5   FACTUAL BACKGROUND................................................................................... 10
                                   6   I.      MOTION TO DISMISS STANDARDS ........................................................ 12
                                   7   II.     THE COURT LACKS, OR SHOULD DECLINE TO EXERCISE,
                                               SUBJECT MATTER JURISDICTION ......................................................... 13
                                   8
                                               A.       Plaintiff Lacks Article III Standing, and His Claims Are
                                   9                    Constitutionally Moot .......................................................................... 13
                                  10           B.       Plaintiff’s Claims Are Not Ripe for Review ........................................ 16
                                  11           C.       The Recall Remedies Moot Plaintiff’s Claims .................................... 18
                                  12
4655 EXECUTIVE DRIVE, SUITE 700




                                       III.    THE COMPLAINT FAILS TO STATE A CLAIM ...................................... 19
 SAN DIEGO, CALIFORNIA 92121




                                  13           A.       Plaintiff Cannot Plausibly Allege Cosori’s Pre-Sale Knowledge,
       DENTONS US LLP




                                                        Defeating His Fraud-Based Claims ..................................................... 19
         619 236 1414




                                  14
                                               B.       None of Plaintiff’s Fraud-Based Claims Are Pled with
                                  15                    Particularity .......................................................................................... 21
                                  16           C.       Plaintiff’s Claim Under the Unlawful and Unfair Prongs of the
                                                        UCL Must Also Be Dismissed ............................................................. 23
                                  17
                                               D.       The Economic Loss Doctrine Bars Plaintiff’s Common Law
                                  18                    Fraud Claims ........................................................................................ 24
                                  19           E.       Plaintiff’s Warranty Claims Are Insufficiently Pled ........................... 25
                                  20                    1.       Plaintiff’s Breach of Express Warranty Is Inadequately
                                                                 Pled on Its Face.......................................................................... 25
                                  21
                                                        2.       Plaintiff’s Claim Fails Under the Terms of the Limited
                                  22                             Warranty .................................................................................... 26
                                  23                    3.       Plaintiff Does Not State a Claim for Breach of Implied
                                                                 Warranty .................................................................................... 29
                                  24
                                               F.       Differences in State Laws Preclude a Nationwide Class ..................... 30
                                  25
                                       IV.     CONCLUSION .............................................................................................. 31
                                  26
                                  27
                                  28

                                                                                                     -2-
                      Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 3 of 32 Page ID #:130



                                   1                                       TABLE OF AUTHORITIES
                                   2                                                                                                            Page(s)
                                   3                                                  Federal Cases
                                   4   Ahern v. Apple Inc.,
                                         411 F. Supp. 3d 541 (N.D. Cal. 2019)................................................................ 20
                                   5
                                       Americopters, LLC v. Fed. Aviation Admin.,
                                   6     441 F.3d 726 (9th Cir. 2006) .............................................................................. 13
                                   7   Ashcroft v. Iqbal,
                                          556 U.S. 662 (2009) ............................................................................... 13, 25, 29
                                   8
                                       Augustine v. United States,
                                   9     704 F.2d 1074 (9th Cir. 1983) ............................................................................ 12
                                  10   Baba v. Hewlett-Packard Co.,
                                         2010 WL 2486353 (N.D. Cal. June 16, 2010) ............................................. 20, 23
                                  11
                                       Barrera v. Samsung Elecs. Am., Inc.,
                                  12     2019 WL 1950295 (C.D. Cal. Feb. 27, 2019) .................................................... 19
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                  13   Bell Atl. Corp. v. Twombly,
       DENTONS US LLP




                                          550 U.S. 544 (2007) ..................................................................................... 13, 16
         619 236 1414




                                  14
                                       BMA LLC v. HDR Glob. Trading Ltd.,
                                  15     2021 WL 4061698 (N.D. Cal. Sept. 7, 2021)..................................................... 23
                                  16   Charlton v. LG Energy Sol. Mich., Inc.,
                                         2023 WL 1420726 (S.D. Cal. Jan. 31, 2023) ............................................... 14, 15
                                  17
                                       Cheng v. BMW of N. Am., LLC,
                                  18     2013 WL 12133886 (C.D. Cal. Apr. 12, 2013) .................................................. 28
                                  19   Cheng v. BMW of N. Am., LLC,
                                         2013 WL 3940815 (C.D. Cal. July 26, 2013) .............................................. 18, 19
                                  20
                                       Clemens v. DaimlerChrysler Corp.,
                                  21      534 F.3d 1017 (9th Cir. 2008) ...................................................................... 26, 29
                                  22   In re ConAgra Foods Inc.,
                                          908 F. Supp. 2d 1090 (C.D. Cal. 2012) .............................................................. 21
                                  23
                                       Cover v. Windsor Surry Co.,
                                  24     2016 WL 520991 (N.D. Cal. Feb. 10, 2016) ...................................................... 27
                                  25   Crown Cell Inc. v. Ecovacs Robotics Inc.,
                                         2022 WL 4087512 (N.D. Cal. Sept. 6, 2022)..................................................... 26
                                  26
                                       Darisse v. Nest Labs, Inc.,
                                  27     2016 WL 4385849 (N.D. Cal. Aug. 15, 2016) ................................................... 30
                                  28

                                                                                                  -3-
                       Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 4 of 32 Page ID #:131
                                                                                                                                                 Page(s)


                                   1   Desaigoudar v. Meyercord,
                                         223 F.3d 1020 (9th Cir. 2000) ............................................................................ 21
                                   2
                                       Elkins v. Am. Honda Motor Co.,
                                   3      2020 WL 4882412 (C.D. Cal. July 20, 2020) .............................................. 17, 19
                                   4   Espineli v. Toyota Motor Sales, U.S.A., Inc.,
                                          2019 WL 2249605 (E.D. Cal. May 24, 2019) .................................................... 21
                                   5
                                       Fahie v. Miranda,
                                   6     2015 WL 631640 (C.D. Cal. Feb. 11, 2015) ...................................................... 19
                                   7   Fisher v. Honda N.A., Inc.,
                                          2014 WL 2808188 (C.D. Cal. June 12, 2014).................................................... 28
                                   8
                                       Fletcher v. United States,
                                   9      116 F.3d 1315 (10th Cir. 1997) .......................................................................... 18
                                  10   In re GlenFed, Inc. Sec. Litig.,
                                          42 F.3d 1541 (9th Cir. 1994) .............................................................................. 22
                                  11
                                       Guan v. Mercedes-Benz USA, LLC,
                                  12     2022 WL 17089817 (N.D. Cal. May 17, 2022) ........................................... 16, 17
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                  13   Hadley v. Kellogg Sales Co.,
       DENTONS US LLP




                                         243 F. Supp. 3d 1074 (N.D. Cal. 2017).............................................................. 23
         619 236 1414




                                  14
                                       Hoey v. Sony Elec., Inc.,
                                  15     515 F. Supp. 2d 1099 (N.D. Cal. 2007).............................................................. 22
                                  16   Hovsepian v. Apple, Inc.,
                                         2009 WL 2591445 (N.D. Cal. Aug. 21, 2009) ................................................... 29
                                  17
                                       Kearns v. Ford Motor Co.,
                                  18     567 F.3d 1120 (9th Cir. 2009) ...................................................................... 22, 23
                                  19   Kelsey v. Nissan N. Am.,
                                          2020 WL 4592744 (C.D. Cal. July 15, 2020) .................................................... 24
                                  20
                                       Lemus v. Rite Aid Corp.,
                                  21     613 F. Supp. 3d 1269 (C.D. Cal. 2022) .............................................................. 30
                                  22   Lewis v. Casey,
                                         518 U.S. 343 (1996) ........................................................................................... 16
                                  23
                                       Lierboe v. State Farm Mut. Auto. Ins. Co.,
                                  24      350 F.3d 1018 (9th Cir. 2003) ............................................................................ 12
                                  25   MacDonald v. Ford Motor Co.,
                                         37 F. Supp. 3d 1087 (N.D. Cal. 2014)................................................................ 20
                                  26
                                       Mandani v. Volkswagen Grp. of Am., Inc.,
                                  27     2019 WL 652867 (N.D. Cal. Feb. 15, 2019) ...................................................... 25
                                  28
                                                                                                  -4-
                       Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 5 of 32 Page ID #:132
                                                                                                                                              Page(s)


                                   1   Marrujo v. Coloplast Corp.,
                                         2020 WL 3791637 (S.D. Cal. July 7, 2020) ....................................................... 26
                                   2
                                       Maya v. Centex Corp.,
                                   3     658 F.3d 1060 (9th Cir. 2011) ............................................................................ 12
                                   4   Mazza v. Am. Honda Motor Co.,
                                         666 F.3d 581 (9th Cir. 2012), overruled in part on other grounds by
                                   5     Olean Wholesale Grocery Coop. v. Bumble Bee Foods LLC, 31
                                         F.4th 651 (9th Cir. 2022) .............................................................................. 30, 31
                                   6
                                       McGee v. Mercedes-Benz USA, LLC,
                                   7     612 F. Supp. 3d 1051 (S.D. Cal. 2020) .............................................................. 29
                                   8   McKinney v. Corsair Gaming, Inc.,
                                         2022 WL 17736777 (N.D. Cal. Dec. 16, 2022) ................................................. 30
                                   9
                                       Miller v. Ford Motor Co.,
                                  10      620 F. Supp. 3d 1045 (E.D. Cal. 2022) .............................................................. 28
                                  11   Minkler v. Apple, Inc.,
                                         65 F. Supp. 3d 810 (N.D. Cal. 2014).................................................................. 25
                                  12
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                       Moore v. Kayport Package Express, Inc.,
                                  13     885 F.2d 531 (9th Cir. 1989) .............................................................................. 21
       DENTONS US LLP



         619 236 1414




                                  14   Mosqueda v. Am. Honda Motor Co., Inc.,
                                         443 F.Supp. 3d 1115 (C.D. Cal. 2020) ............................................................... 24
                                  15
                                       Murphy v. DirecTV, Inc.,
                                  16     724 F.3d 1218 (9th Cir. 2013) ............................................................................ 26
                                  17   Nasoordeen v. FDIC,
                                         2010 WL 1135888 (C.D. Cal. Mar. 17, 2010) ................................................... 19
                                  18
                                       Nazos v. Toyota Motor Corp.,
                                  19     2022 WL 17078882 (C.D. Cal. Oct. 13, 2022) .................................................. 31
                                  20   Obertman v. Electrolux Home Care Prod., Inc,
                                         482 F. Supp. 3d 1017 (E.D. Cal. 2020) .............................................................. 29
                                  21
                                       In re Outlaw Lab., LLP,
                                  22      463 F. Supp. 3d 1068 (S.D. Cal. 2020) .............................................................. 21
                                  23   Pacheco v. Ford Motor Co.,
                                         2023 WL 2603937 (E.D. Mich. Mar. 22, 2023)................................................. 19
                                  24
                                       Portman v. Cty. of Santa Clara,
                                  25     995 F.2d 898 (9th Cir. 1993) .............................................................................. 16
                                  26   Punian v. Gillette Co.,
                                         2016 WL 1029607 (N.D. Cal. Mar. 15, 2016) ................................................... 26
                                  27
                                       Sanders v. Apple Inc.,
                                  28      672 F. Supp. 2d 978 (N.D. Cal. 2009)................................................................ 26
                                                                                                 -5-
                       Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 6 of 32 Page ID #:133
                                                                                                                                                  Page(s)


                                   1   Savage v. Glendale Union High Sch. Dist.,
                                          343 F.3d 1036 (9th Cir. 2003) ............................................................................ 13
                                   2
                                       Schepler v. Am. Honda Motor Co.,
                                   3      2019 WL 398000 (C.D. Cal. Jan. 29, 2019)....................................................... 31
                                   4   Schmitt v. SN Servicing Corp.,
                                          2021 WL 3493754 (N.D. Cal. Aug. 9, 2021) ..................................................... 23
                                   5
                                       Seifi v. Mercedes-Benz USA, LLC,
                                   6      2013 WL 5568449 (N.D. Cal. Oct. 9, 2013) ...................................................... 28
                                   7   Smith v. LG Elecs. U.S.A., Inc.,
                                         2014 WL 989742 (N.D. Cal. Mar. 11, 2014) ............................................... 25, 26
                                   8
                                       Spokeo, Inc. v. Robins,
                                   9      578 U.S. 330 (2016) ........................................................................................... 13
                                  10   Stearns v. Select Comfort Retail Corp.,
                                          2008 WL 4542967 (N.D. Cal. Oct. 1, 2008) ...................................................... 27
                                  11
                                       Stearns v. Select Comfort Retail Corp.,
                                  12      2009 WL 1635931 (N.D. Cal., June 5, 2009) .................................................... 21
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                  13   Sugasawara v. Ford Motor Co.,
       DENTONS US LLP




                                          2019 WL 3945105 (N.D. Cal. Aug. 21, 2019) ....................................... 14, 15, 16
         619 236 1414




                                  14
                                       Tait v. BSH Home Appliances Corp.,
                                  15      2011 WL 1832941 (C.D. Cal., May 12, 2011)................................................... 22
                                  16   Taragan v. Nissan N. Am., Inc.,
                                          2013 WL 3157918 (N.D. Cal. June 20, 2013) ................................................... 29
                                  17
                                       Thomas v. Anchorage Equal Rights Comm’n,
                                  18     220 F.3d 1134 (9th Cir. 2000) (en banc)............................................................ 12
                                  19   In re Toyota Corp.,
                                          890 F. Supp. 2d 1210 (C.D. Cal. 2011) .............................................................. 15
                                  20
                                       In re Toyota Motor Corp. Hybrid Brake Mktg.,
                                  21      915 F. Supp. 2d 1151 (C.D. Cal. 2013) .............................................................. 15
                                  22   U.S. W. Commc’ns v. MFS Intelenet, Inc.,
                                          193 F.3d 1112 (9th Cir. 1999) ............................................................................ 17
                                  23
                                       Vess v. Ciba-Geigy Corp. USA,
                                  24      317 F.3d 1097 (9th Cir. 2003) ............................................................................ 22
                                  25   Vinci v. Hyundai Motor Am.,
                                          2018 WL 6136828 (C.D. Cal. Apr. 10, 2018) .............................................. 30, 31
                                  26
                                       Warth v. Seldin,
                                  27     422 U.S. 490 (1975) ........................................................................................... 16
                                  28
                                                                                                   -6-
                       Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 7 of 32 Page ID #:134
                                                                                                                                                             Page(s)


                                   1   Watkins v. MGA Ent., Inc.,
                                         550 F. Supp. 3d 815 (N.D. Cal. 2021)................................................................ 21
                                   2
                                       Watkins v. MGA Ent., Inc.,
                                   3     574 F. Supp. 3d 747 (N.D. Cal. 2021)................................................................ 25
                                   4   Wildwest Inst. v. Kurth,
                                          855 F.3d 995 (9th Cir. 2017) .............................................................................. 14
                                   5
                                       Williams v. Tesla, Inc.,
                                   6      2022 WL 899847 (N.D. Cal. Mar. 28, 2022) ......................................... 19, 20, 23
                                   7   Wilson v. Hewlett-Packard Co.,
                                          668 F.3d 1136 (9th Cir. 2012) ............................................................................ 20
                                   8
                                       Winzler v. Toyota Motor Sales USA,
                                   9     681 F.3d 1208 (10th Cir. 2012) .................................................................... 18, 19
                                  10   Wolfson v. Brammer,
                                         616 F.3d 1045 (9th Cir. 2010) ............................................................................ 16
                                  11
                                                                                          California Cases
                                  12
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                       Cel-Tech Comm’cns, Inc. v. L.A. Cellular Tele. Co.,
                                  13      20 Cal. 4th 163 (Cal. 1999) ................................................................................ 23
       DENTONS US LLP



         619 236 1414




                                  14   Robinson Helicopter Co. v. Dana Corp.,
                                         34 Cal. 4th 979 (Cal. 2004) ................................................................................ 24
                                  15
                                                                                          Federal Statutes
                                  16
                                       Consumer Product Safety Act, 15 U.S.C.
                                  17     §§ 2051, et seq. ................................................................................................... 18
                                  18   Federal Trade Commission Act
                                          § 5 ....................................................................................................................... 23
                                  19
                                                                                        California Statutes
                                  20
                                       California Commercial Code
                                  21      § 2314 ................................................................................................................. 29
                                  22   California False Advertising Law, California Business and Professions
                                          Code
                                  23      §§ 17500, et seq. .......................................................................................... passim
                                  24   Consumers Legal Remedies Act
                                         §§ 1750, et seq. ............................................................................................ passim
                                  25
                                       Unfair Competition Law, California Business and Professional Code
                                  26     §§ 17200, et seq. .......................................................................................... passim
                                  27                                                     Other Authorities
                                  28   Fed. R. Civ. P. 9 ................................................................................................. 21, 22
                                                                                                         -7-
                       Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 8 of 32 Page ID #:135
                                                                                                                                                      Page(s)


                                   1   Fed. R. Civ. P. 12 ............................................................................................... 12, 13
                                   2
                                   3
                                   4
                                   5
                                   6
                                   7
                                   8
                                   9
                                  10
                                  11
                                  12
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                  13
       DENTONS US LLP



         619 236 1414




                                  14
                                  15
                                  16
                                  17
                                  18
                                  19
                                  20
                                  21
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28
                                                                                                     -8-
                      Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 9 of 32 Page ID #:136



                                   1                                    INTRODUCTION
                                   2         On the heels of Defendant Arovast Corporation’s (“Cosori”)1 voluntary recall
                                   3   of certain air fryers (“Recall”)—the contours of which were coordinated with and
                                   4   approved by the U.S. Consumer Product Safety Commission (“CPSC”)—Plaintiff
                                   5   Nam Tao2 (“Plaintiff”) filed a putative class action stemming from his alleged
                                   6   purchase of a Cosori air fryer in 2019. Plaintiff conveniently overlooks that the
                                   7   Recall already provides a fulsome remedy, and Plaintiff has not otherwise alleged
                                   8   injury or damage resulting from his air fryer. Nor has Plaintiff even sought to avail
                                   9   himself of the remedy available under the Recall, which includes a new air fryer
                                  10   without the alleged defect or one of a suite of alternative appliances, at his election.
                                  11   Whether framed as a lack of standing, mootness, or lack of ripeness, Plaintiff’s claims
                                  12   simply do not survive in light of the Recall.
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                  13         Plaintiff cannot overcome these threshold issues, and he has also failed to
       DENTONS US LLP



         619 236 1414




                                  14   adequately state a claim. Among the Complaint’s many deficiencies, Plaintiff neither
                                  15   plausibly alleges Cosori’s pre-sale knowledge of the defect nor pleads his common
                                  16   law or statutory fraud-based claims with sufficient particularity, which is also fatal
                                  17   to his Unfair Competition Law claim. His common law fraud claims also fail under
                                  18   the economic loss doctrine as duplicative of his breach of warranty claims. Plaintiff’s
                                  19   warranty claims are similarly doomed because he cannot plead a breach or reliance.
                                  20         The Complaint is a hasty, obvious attempt to capitalize on the ongoing Recall,
                                  21   despite the fact that Cosori has already ensured the availability of an equitable
                                  22   remedy to Plaintiff and the putative class. Permitting baseless lawsuits such as this
                                  23   one would only serve to disincentivize companies from effectuating voluntary recalls
                                  24   because even where, as here, the company is willing to provide a more than ample
                                  25   1
                                         Plaintiff’s caption incorrectly refers to Defendant as “Arovast Corporation d/b/a
                                  26   Cosori Corporation.” Arovast does not technically do business as Cosori, but the
                                       products at issue in the Complaint are Cosori-branded products. We will hereafter
                                  27   refer to Defendant as “Cosori.”
                                       2
                                         Jeanette Finch, the first named plaintiff in the caption, voluntarily dismissed her
                                  28   claims on May 19, 2023. (Dkt. 26.)

                                                                                    -9-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 10 of 32 Page ID
                                                                    #:137


                                    1   remedy (including the provision of products at equal or greater value with
                                    2   accompanying limited warranties and without regard to the age of the recalled subject
                                    3   unit), the company is still forced to spend time and money defending against
                                    4   concurrent, follow-on litigation. Because of the futility of Plaintiff’s jurisdictional
                                    5   and substantive arguments, Cosori respectfully requests that this case be dismissed
                                    6   without leave to amend.
                                    7                              FACTUAL BACKGROUND
                                    8         I.     The Recall and Plaintiff’s Subsequent Notice
                                    9         On February 23, 2023, in cooperation with the CPSC and in an abundance of
                                   10   caution due to an extremely rare risk of overheating, Cosori announced its voluntary
                                   11   fast track Recall of certain air fryers (“Products”).3 (Declaration of Jeremy Liauw,
                                   12   dated May 31, 2023 (“Liauw Dec.”) ¶ 4.) The Recall offers all Product owners a full
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   and complete remedy. (See id. ¶ 6.) Specifically, the Recall provides consumers
       DENTONS US LLP



         619 236 1414




                                   14   replacement air fryers without the alleged defect of equal or greater value, depending
                                   15   on the model of the consumer’s recalled Product, as well as a variety of alternative
                                   16   replacement products for consumers who elect not to receive another air fryer. (Id.)
                                   17   These state-of-the-art replacement products (air fryers or otherwise) are covered by
                                   18   a new limited warranty. (Id.) Importantly, the Recall’s remedy has been submitted
                                   19   to and approved by the CPSC, the government entity charged with overseeing the
                                   20   propriety and efficiency of the Recall and ensuring that Cosori meets its obligations
                                   21   to provide consumers with suitable remedies. (Id. ¶ 7.)
                                   22         On April 3, 2023, Cosori received a Notice of Warranty Breaches, dated
                                   23   March 28, 2023, from Plaintiff’s counsel. (Id. ¶ 8, Ex. D thereto.) According to
                                   24   Cosori’s records, Plaintiff has never sought a remedy under the Product’s limited
                                   25
                                   26   3
                                         The Products bear air fryer model numbers: CP158-AF, CP158-AF-R19, CP158-
                                        AF-RXW, CP158-AF-RXR, CAF-P581-BUSR, CAF-P581-AUSR, CAF-P581-
                                   27   RUSR, CP137-AF, CP137-AF-RXB, CP137-AF-RXR, CP137-AF-RXW, CS158-
                                        AF, CS158-AF-RXB, CS158-AF-R19, CAF-P581S-BUSR, CAF-P581S-RUSR,
                                   28   CAF-P581S-AUSR, CO137-AF, CO158-AF, CO158-AF-RXB, CP258-AF.
                                                                                   -10-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 11 of 32 Page ID
                                                                    #:138


                                    1   warranty. (Id. ¶ 9.) Indeed, as of the date of filing, Plaintiff has not even registered
                                    2   for the Recall remedy. (Id.)
                                    3         II.    The Allegations of the Complaint
                                    4         On April 5, 2023, just over a month after Cosori announced the Recall,
                                    5   Plaintiff filed his Complaint, along with Jeanette Finch (who subsequently
                                    6   voluntarily dismissed her claims), on behalf of themselves and “a national class of
                                    7   individuals who purchased the products.” (Compl. ¶ 16). Plaintiff alleges that he is
                                    8   a resident of California and purchased a CP158-AF air fryer—a model subject to the
                                    9   Recall—from Amazon in May of 2019. (Id. ¶ 19.)4 Plaintiff broadly accuses Cosori
                                   10   of representing at the time of purchase that the Product contained various safety
                                   11   features while failing to disclose the “unreasonable risk of fire” they allegedly
                                   12   presented. (See id., e.g., ¶¶ 5–6.) Plaintiff claims he reviewed the air fryer’s
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   Amazon.com webpage and product packaging and was “exposed” to these
       DENTONS US LLP



         619 236 1414




                                   14   “representations and omissions.” (Id. ¶¶ 19, 78.) However, Plaintiff does not
                                   15   identify which particular representations he “reviewed and relied on.” (Id. ¶ 79.) The
                                   16   Complaint also offers no allegations Plaintiff experienced the alleged defect with his
                                   17   air fryer—let alone that Plaintiff’s unit ever experienced the alleged defect—nor does
                                   18   it reference any source of information for the alleged defect beyond the Recall itself.
                                   19         Plaintiff claims he used the Product as directed without knowledge of the
                                   20   alleged risk and says he would not have purchased the product had he known it was
                                   21   defective. (Id. ¶ 20.) He vaguely alleges that “at least as early as the beginning of
                                   22   the ‘Class Period,’ Defendant fully understood the substantial and unreasonable risk”
                                   23   the Products posed. (See id. ¶¶ 50, 53. 54, 115.) But the “Class Period” is defined
                                   24   only as the “applicable statute of limitations for Plaintiff’s claims,” so it is unclear
                                   25   when Plaintiff believes Cosori knew of any such risk. (Id. ¶ 10 n.2.)
                                   26
                                   27
                                        4
                                          The Complaint later identifies Plaintiff’s model number as CP137-AF. (Compl.
                                   28   ¶ 77.) Regardless, this discrepancy does not affect Plaintiff’s claims.
                                                                                    -11-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 12 of 32 Page ID
                                                                    #:139


                                    1         Plaintiff then takes issue with Cosori’s CPSC-approved Recall, objecting that
                                    2   it “does not provide refunds or other monetary compensation,” and that it lacks a
                                    3   process to compensate individuals for physical injury or property damage—even
                                    4   though Plaintiff does not allege he suffered either. (See id. ¶ 65.) And although
                                    5   Plaintiff does not allege that he experienced any difficulties with the Recall process,
                                    6   he reproduces a trio of third-party “testimonials” in an attempt to suggest that
                                    7   Cosori’s process is ineffective. (Id. ¶¶ 66–70.)
                                    8         The Complaint alleges: (1) violations of California’s Unfair Competition Law
                                    9   (“UCL”); (2) violations of California’s False Advertising Law (“FAL”); (3)
                                   10   violations of California’s Consumers Legal Remedies Act (“CLRA”); (4) breach of
                                   11   express warranty; (5) breach of implied warranty of merchantability; and (6)
                                   12
4655 EXECUTIVE DRIVE, SUITE 700




                                        fraudulent misrepresentation/omission. (Id. ¶¶ 101–174.) Plaintiff seeks injunctive
 SAN DIEGO, CALIFORNIA 92121




                                   13   relief, compensatory and punitive damages, as well as fees, costs, and expenses, for
       DENTONS US LLP



         619 236 1414




                                   14   himself and the putative class. (Id. (prayer for relief).)
                                   15                            ARGUMENT
                                   16   I.    MOTION TO DISMISS STANDARDS
                                   17         Under Rule 12(b)(1), a party may move to dismiss based on the court’s lack of
                                   18   subject matter jurisdiction. See Fed. R. Civ. P. 12(b)(1). As a threshold matter,
                                   19   Plaintiff must demonstrate he has a live “case” or “controversy” to establish Article
                                   20   III standing and invoke the jurisdiction of federal courts. See Thomas v. Anchorage
                                   21   Equal Rights Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000) (en banc). Consequently,
                                   22   a “lack of Article III standing requires dismissal for lack of subject matter
                                   23   jurisdiction.” Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011) (emphasis
                                   24   omitted). In a putative class action, at least one named plaintiff must have standing.
                                   25   See Lierboe v. State Farm Mut. Auto. Ins. Co., 350 F.3d 1018, 1022 (9th Cir. 2003)
                                   26   (citation omitted). When the Court is presented with a challenge to its subject matter
                                   27   jurisdiction, “[n]o presumptive truthfulness attaches to [a] plaintiff’s allegations.”
                                   28   Augustine v. United States, 704 F.2d 1074, 1077 (9th Cir. 1983) (quotation omitted).
                                                                                    -12-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 13 of 32 Page ID
                                                                    #:140


                                    1   In resolving such a motion, the Court may look beyond the pleadings and consider
                                    2   affidavits, declarations, and other outside materials. See Americopters, LLC v. Fed.
                                    3   Aviation Admin., 441 F.3d 726, 732 n.4 (9th Cir. 2006). Plaintiff bears the burden of
                                    4   establishing the Court’s subject matter jurisdiction. Savage v. Glendale Union High
                                    5   Sch. Dist., 343 F.3d 1036, 1039 n.2 (9th Cir. 2003).
                                    6          Under Rule 12(b)(6), a case may be dismissed for failure to allege “enough
                                    7   facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,
                                    8   550 U.S. 544, 570 (2007). “A claim has facial plausibility when plaintiff pleads
                                    9   factual content that allows the court to draw the reasonable inference that defendant
                                   10   is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
                                   11   (internal citations omitted). The plausibility standard goes beyond a mere probability
                                   12   requirement, demanding “more than a sheer possibility that a defendant acted
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   unlawfully.” Id.
       DENTONS US LLP



         619 236 1414




                                   14   II.    THE COURT LACKS, OR SHOULD DECLINE TO EXERCISE,
                                   15          SUBJECT MATTER JURISDICTION
                                   16          The Court lacks, or should decline to exercise, subject matter jurisdiction here
                                   17   for three reasons. First, Plaintiff lacks Article III standing, and his claims are
                                   18   constitutionally moot because he cannot plausibly allege a concrete, imminent injury
                                   19   traceable to Cosori’s conduct. Second, Plaintiff has yet to avail himself of the Recall
                                   20   remedy, and his claims are thus not ripe for adjudication. Third, because the CPSC
                                   21   is actively overseeing Cosori’s Recall efforts, this Court should decline to exercise
                                   22   jurisdiction based on the doctrine of prudential mootness.
                                   23          A.     Plaintiff Lacks Article III Standing, and His Claims Are
                                   24                 Constitutionally Moot.
                                   25          Article III standing requires that a plaintiff allege a concrete, particularized
                                   26   injury traceable to a defendant’s conduct that can be redressed through the courts.
                                   27   Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Similarly, a claim is moot under
                                   28   Article III when it has already been redressed, such that there is no longer a live case
                                                                                      -13-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 14 of 32 Page ID
                                                                    #:141


                                    1   or controversy. Wildwest Inst. v. Kurth, 855 F.3d 995, 1002 (9th Cir. 2017). Here,
                                    2   Plaintiff lacks standing and his claims are moot because any alleged injury has been
                                    3   redressed through the Recall.
                                    4         Plaintiff does not allege that he was injured or that his property was damaged
                                    5   because of the alleged risk of defect—in fact, he does not allege that his air fryer even
                                    6   experienced the alleged defect. (See Compl. ¶¶ 72–81.) He also does not allege he
                                    7   incurred any post-purchase costs or expenses as a result of the alleged defect and
                                    8   before the Recall was announced. (Id.) Plaintiff alleges that he was injured only in
                                    9   the sense that he “would not have purchased the product had [he] known the truth,”
                                   10   which resulted in “lost money.” (Id. ¶¶ 80–81.) But, even if true, the Recall fully
                                   11   redresses this precise type of injury by providing a replacement product at an equal
                                   12   or greater value. (See Liauw Dec. ¶ 6.) Plaintiff claims an injury simply because he
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   has not availed himself of the Recall remedies, although he is able to do so. His
       DENTONS US LLP



         619 236 1414




                                   14   manufactured standing and “case or controversy” must be rejected. See Sugasawara
                                   15   v. Ford Motor Co., 2019 WL 3945105, at *6 (N.D. Cal. Aug. 21, 2019) (rejecting
                                   16   plaintiff’s attempt to “manufacture standing” by declining to participate in a recall
                                   17   and holding any remaining injury is “not fairly ‘traceable’” to the defendant).
                                   18         Charlton v. LG Energy Sol. Mich., Inc., 2023 WL 1420726, at *1 (S.D. Cal.
                                   19   Jan. 31, 2023) is particularly instructive. There, plaintiff Charlton alleged he relied
                                   20   on defendant LG’s representations in purchasing batteries that LG later “admitted”
                                   21   were defective. Id. at *1. Charlton sued under California’s CLRA and UCL, seeking
                                   22   injunctive relief plus compensatory and punitive damages, costs, and attorneys’ fees.
                                   23   Id. Just as in this case, LG had announced voluntary recalls of the batteries at issue
                                   24   in conjunction with the CPSC, close in time before Charlton filed suit. Id. Also, like
                                   25   Plaintiff here, Charlton did not allege any injury, damage, or expense beyond his
                                   26   initial purchase (let alone any costs incurred before the Recall remedy was available),
                                   27   nor did he allege that his battery actually experienced the alleged defect. See id.
                                   28   Finally, like Cosori, LG issued its recall under the CPSC’s fast track program, and
                                                                                    -14-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 15 of 32 Page ID
                                                                    #:142


                                    1   the recall remedy was a battery replacement. Id. The court agreed with LG that
                                    2   Charlton lacked standing because the “recall program already address[ed] the alleged
                                    3   battery defect (and the harm flowing from the defect) on which Plaintiff based all of
                                    4   his claims.” Id. at *2. There was no “live case or controversy” to be adjudicated
                                    5   under Article III, and the case was moot. Id. Significantly, the Court flatly rejected
                                    6   Charlton’s argument that because he had not received a refund of his purchase price,
                                    7   he had standing to sue. Id. at *4–5. The court instead held that LG’s recall “made
                                    8   reasonable efforts to correct the [] battery defect,” which extinguished any claim to
                                    9   monetary recompense through a lawsuit.          Id. at *5.   With no “live case or
                                   10   controversy” remaining, the court dismissed Charlton’s complaint with leave to
                                   11   amend. Id.
                                   12         The same result should be reached here. Because the CPSC-approved Recall
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   would provide Plaintiff “precisely what [he] bargained for,” and Plaintiff has alleged
       DENTONS US LLP



         619 236 1414




                                   14   no other injury, he has no claim against Cosori. See, e.g., In re Toyota Motor Corp.
                                   15   Hybrid Brake Mktg., 915 F. Supp. 2d 1151, 1157 (C.D. Cal. 2013); Sugasawara v.
                                   16   Ford Motor Co., 2019 WL 3945105, at *6–7 (N.D. Cal. Aug. 21, 2019) (because
                                   17   “post-recall remedy Vehicles perform as they would without the Defect,” plaintiff
                                   18   was “without a concrete injury that is fairly traceable to Ford’s alleged
                                   19   wrongdoing”).5
                                   20         Plaintiff resorts to allegations about the Recall’s mechanics, seizing upon a
                                   21   handful of posts gleaned from “Facebook and elsewhere online.” (Compl. ¶¶ 67–
                                   22   69.) Even on their own terms, these uncorroborated accounts fail to substantiate
                                   23   Plaintiff’s attack on the process. (See Compl. ¶ 68 (recounting a consumer’s
                                   24   experience culminating in the prompt receipt of a replacement unit that “works just
                                   25
                                        5
                                          Nor has Plaintiff alleged that the replacements provided pursuant to the Recall are
                                   26   defective, reaffirming that he has no claim whatsoever against Cosori. In contrast,
                                        the complaint in In re Toyota Corp., 890 F. Supp. 2d 1210, 1218 (C.D. Cal. 2011)
                                   27   survived a motion to dismiss because it “allege[d] that despite the recall of the Class
                                        Vehicles in February 2010, the braking defects for Plaintiff Kramer’s and the putative
                                   28   class members’ vehicles have not been cured.”
                                                                                   -15-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 16 of 32 Page ID
                                                                    #:143


                                    1   fine”).) Regardless, “in ruling on a motion to dismiss a class action complaint prior
                                    2   to class certification, courts generally consider only the claims of the named
                                    3   plaintiff.” Guan v. Mercedes-Benz USA, LLC, 2022 WL 17089817, at *4 (N.D. Cal.
                                    4   May 17, 2022) (internal quotation marks omitted). Well-established Supreme Court
                                    5   precedent makes clear that a named plaintiff cannot piggyback on the claims of
                                    6   absent class members to create standing where none otherwise exists. Warth v.
                                    7   Seldin, 422 U.S. 490, 502 (1975) (“Petitioners must allege and show that they
                                    8   personally have been injured, not that injury has been suffered by other, unidentified
                                    9   members of the class.”); Lewis v. Casey, 518 U.S. 343, 358 (1996) (district court
                                   10   could only consider injury suffered personally by named plaintiff). These third-party
                                   11   allegations, even if assumed true, cannot create standing or a justiciable case or
                                   12   controversy. Id.
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13         Moreover, Plaintiff’s vague assertions “on information and belief” that Cosori
       DENTONS US LLP



         619 236 1414




                                   14   has “intentionally denied refunds” and otherwise structured the recall process to
                                   15   minimize its exposure (Compl. ¶ 70) are “conclusory and speculative,” Sugasawara,
                                   16   2019 WL 3945105, at *5, and should not be indulged by the Court. Bell Atl. Corp.
                                   17   v. Twombly, 550 U.S. 544, 555 (2007) (“Factual allegations must be enough to raise
                                   18   a right to relief above the speculative level.”).
                                   19         This case must be dismissed given Plaintiff’s lack of standing.
                                   20         B.     Plaintiff’s Claims Are Not Ripe for Review.
                                   21         Because Plaintiff has yet to even pursue the Recall remedy he complains about,
                                   22   this Court should decline jurisdiction under the doctrine of prudential ripeness, which
                                   23   “focuses on whether there is an adequate record upon which to base effective
                                   24   review.” Portman v. Cty. of Santa Clara, 995 F.2d 898, 902–03 (9th Cir. 1993). In
                                   25   evaluating prudential ripeness, courts weigh two considerations: “the fitness of the
                                   26   issues for judicial decision and the hardship to the parties of withholding court
                                   27   consideration.” Wolfson v. Brammer, 616 F.3d 1045, 1060 (9th Cir. 2010) (internal
                                   28   citation omitted). “A claim is fit for decision if the issues raised are primarily legal,
                                                                                     -16-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 17 of 32 Page ID
                                                                    #:144


                                    1   do not require further factual development, and the challenged action is final.” U.S.
                                    2   W. Commc’ns v. MFS Intelenet, Inc., 193 F.3d 1112, 1118 (9th Cir. 1999). “To meet
                                    3   the hardship requirement, a litigant must show that withholding review would result
                                    4   in direct and immediate hardship and would entail more than possible financial loss.”
                                    5   Id. (internal citations omitted).
                                    6         Plaintiff has neither attempted to avail himself of the Recall remedies nor
                                    7   plausibly alleged any facts supporting a finding that replacement units are somehow
                                    8   insufficient to make him whole, so his claims are not “fit” for judicial review. In an
                                    9   analogous case, Elkins v. Am. Honda Motor Co., 2020 WL 4882412, at *1 (C.D. Cal.
                                   10   July 20, 2020), three months after plaintiffs filed their complaint, defendant Honda
                                   11   acknowledged that air conditioning condensers in certain car model batches were not
                                   12   manufactured to specification and announced a warranty extension. Plaintiffs alleged
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   various shortcomings of Honda’s warranty extension program, including that it failed
       DENTONS US LLP



         619 236 1414




                                   14   to compensate them for “the amount they overpaid for their vehicles.” Id. at *5. The
                                   15   court rejected these arguments and dismissed the claims as prudentially unripe,
                                   16   stating that plaintiffs “took issue with Honda’s response to an alleged defect” but
                                   17   then “rushed to file their amended complaint before Honda’s response could play
                                   18   out.” Id.; see also Guan, 2022 WL 17089817, at *4 (claim unripe as “nothing in the
                                   19   record … suggests that Guan ever attempted to take advantage of the Campaign”).
                                   20   Here, too, Plaintiff filed his action roughly a month after the Recall announcement,
                                   21   certainly before Cosori’s Recall could “play out.” Even more egregious, and unlike
                                   22   in Elkins, Plaintiff filed his action after Cosori had already initiated its Recall.
                                   23         The second prong of the ripeness inquiry is also easily satisfied, as the Court’s
                                   24   withholding of review at least until Plaintiff engages in the Recall process would
                                   25   cause him no direct or immediate hardship, and significantly, none is pled. See Guan,
                                   26   2022 WL 17089817 at *5 (no showing that dismissal would entail more than possible
                                   27   financial loss); Elkins, 2020 WL 4882412, at *6 (prong satisfied where hardship was
                                   28
                                                                                     -17-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 18 of 32 Page ID
                                                                    #:145


                                    1   purely financial). Accordingly, the Court should decline to exercise jurisdiction over
                                    2   Plaintiff’s claims.
                                    3         C.     The Recall Remedies Moot Plaintiff’s Claims.
                                    4         The Court should also dismiss the Complaint under the doctrine of prudential
                                    5   mootness. “Under the doctrine of prudential mootness, there are circumstances under
                                    6   which a controversy, not constitutionally moot, is so ‘attenuated that considerations
                                    7   of prudence and comity for coordinate branches of government counsel to stay its
                                    8   hand, and to withhold relief it has the power to grant.’” Cheng v. BMW of N. Am.,
                                    9   LLC, 2013 WL 3940815, at *2 (C.D. Cal. July 26, 2013) (citation omitted). The
                                   10   central inquiry in determining if the prudential mootness doctrine applies is whether
                                   11   “circumstances [have] changed since the beginning of the litigation that forestall any
                                   12   occasion for meaningful relief.” Id. (citing Fletcher v. United States, 116 F.3d 1315,
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   1321 (10th Cir. 1997)). In Winzler v. Toyota Motor Sales USA, 681 F.3d 1208 (10th
       DENTONS US LLP



         619 236 1414




                                   14   Cir. 2012), then-Judge Neil Gorsuch reasoned: “While deciding the lawsuit might
                                   15   once have had practical importance, given the assurances of relief from some other
                                   16   department of government it doesn’t any longer.” Id. at 1210.
                                   17         Cosori announced the voluntary Recall on February 23, 2023, and it is
                                   18   undisputed that Plaintiff’s product is within the scope. (See Compl. ¶¶ 19, 77; Liauw
                                   19   Dec. ¶ 4.) Cosori is presently conducting the Recall under the auspices of the CPSC.
                                   20   (Liauw Dec. ¶¶ 4–7.) By coordinating the Recall through the CPSC, Cosori is
                                   21   obligated by statute to notify all purchasers of the Products subject to the Recall and
                                   22   offer a no-cost remedy approved by the CPSC. See 15 U.S.C. § 2064(i), (d), (e).
                                   23   Moreover, Cosori has subjected itself to the CPSC’s continuing oversight. See, e.g.,
                                   24   id. at § 2064 (establishing CPSC authority to regulate consumer products, rules, and
                                   25   recalls). Should Cosori fall short of effectuating the Recall to the CPSC’s exacting
                                   26   satisfaction, the agency has means to ensure full compliance. See id. at § 2064(d).
                                   27         The CPSC’s active involvement here means the Court should exercise its
                                   28   discretion to defer to CPSC’s Recall oversight, which includes approving the
                                                                                   -18-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 19 of 32 Page ID
                                                                    #:146


                                    1   remedies available to Plaintiff and others. See, e.g., Cheng, 2013 WL 3940815, at
                                    2   *4; Nasoordeen v. FDIC, 2010 WL 1135888, at *10 (C.D. Cal. Mar. 17, 2010)
                                    3   (dismissing claim for prudential mootness); see also Winzler, 681 F.3d 1208. In
                                    4   view of well-established deference to the CPSC’s remedies and purview, and given
                                    5   the futility of Plaintiff’s jurisdictional arguments, this case should be dismissed
                                    6   without leave to amend. See, e.g., Elkins, 2020 WL 4882412, at *6 (court concluded
                                    7   that facts require development, not that plaintiffs possess additional facts they could
                                    8   have pleaded to render their claims ripe for adjudication but did not); Fahie v.
                                    9   Miranda, 2015 WL 631640, at *5 (C.D. Cal. Feb. 11, 2015) (dismissing without leave
                                   10   to amend based on futility of any amendments); see also Pacheco v. Ford Motor Co.,
                                   11   2023 WL 2603937, at *5 (E.D. Mich. Mar. 22, 2023) (“Ford has undertaken the recall
                                   12   process and has offered to remedy the Spontaneous Fire Risk without charge.
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   Plaintiffs have not alleged a cognizable danger that this recall process, supervised by
       DENTONS US LLP



         619 236 1414




                                   14   NHTSA, will fail and that they will be left without a complete remedy.”).
                                   15   III.   THE COMPLAINT FAILS TO STATE A CLAIM
                                   16          A.    Plaintiff Cannot Plausibly Allege Cosori’s Pre-Sale Knowledge,
                                   17                Defeating His Fraud-Based Claims.
                                   18          Plaintiff’s fraud-based claims fail because Plaintiff has not alleged—plausibly
                                   19   or otherwise—that Cosori was aware of the alleged defect before Plaintiff purchased
                                   20   the product in May of 2019. “All these laws have a knowledge requirement.”
                                   21   Williams v. Tesla, Inc., 2022 WL 899847, at *3 (N.D. Cal. Mar. 28, 2022).
                                   22   Specifically, Plaintiff must “plausibly allege [Cosori] had pre-sale knowledge of the
                                   23   alleged defect.” Id. (emphasis added) (dismissing on this basis claims under CLRA,
                                   24   FAL, and UCL, and for fraudulent concealment); accord Barrera v. Samsung Elecs.
                                   25   Am., Inc., 2019 WL 1950295, at *4 (C.D. Cal. Feb. 27, 2019) (“To state a valid claim
                                   26   for deceptive practices and fraud under the UCL, FAL, and CLRA, a plaintiff must
                                   27   allege that the defendant had pre-purchase knowledge of the defects.”).
                                   28   //
                                                                                   -19-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 20 of 32 Page ID
                                                                    #:147


                                    1         Here, Plaintiff does not even attempt to make his required showing. Instead,
                                    2   Plaintiff vaguely (and baselessly) alleges that “Defendant knew of [the] risk long
                                    3   before February 2023 due to consumer injury reports and reports of fires and
                                    4   overheating; its sophistication; the substantial length of time during which Defendant
                                    5   was manufacturing the defective Products . . . and the enormous number of products
                                    6   impacted.” (Compl. ¶ 6 (emphasis added).) Similarly, Plaintiff’s bare and cryptic
                                    7   allegation that Cosori was aware of the alleged defect “at least as early as the
                                    8   beginning of the Class Period” (Id. ¶ 115) cannot possibly survive a motion to
                                    9   dismiss. In fact, Plaintiff’s “Class Period” is only loosely defined as the “applicable
                                   10   statutes of limitations for Plaintiff[’s] claims,” completely untethered to a particular
                                   11   date. (Id. ¶ 10 n.2.) Plaintiff’s “speculative and vague allegations” simply do not
                                   12   “create a plausible inference” that Cosori knew of the alleged defect before May of
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   2019. See Williams, 2022 WL 899847, at *4.
       DENTONS US LLP



         619 236 1414




                                   14         As the Ninth Circuit has explained, “courts have rejected undated customer
                                   15   complaints offered as a factual basis for a manufacturer’s knowledge of a defect
                                   16   because they provide no indication whether the manufacturer was aware of the defect
                                   17   at the time of sale.” Wilson v. Hewlett-Packard Co., 668 F.3d 1136, 1147 (9th Cir.
                                   18   2012) (emphasis in original); accord MacDonald v. Ford Motor Co., 37 F. Supp. 3d
                                   19   1087, 1094 (N.D. Cal. 2014) (“undated complaints cannot support an inference of
                                   20   knowledge”); Baba v. Hewlett-Packard Co., 2010 WL 2486353, at *5 (N.D. Cal.
                                   21   June 16, 2010) (“None of those postings or complaints, however, include any dates,
                                   22   and therefore shed no light on when HP knew of the alleged defects.”). On this basis
                                   23   alone, the Court should dismiss Plaintiff’s claims under the CLRA and FAL, the
                                   24   “unfair” and “fraudulent” prongs of the UCL, and for common-law fraud. Espineli
                                   25   v. Toyota Motor Sales, U.S.A., Inc., 2019 WL 2249605, at *9–10 (E.D. Cal. May 24,
                                   26   2019) (dismissing CLRA and UCL claims because “plaintiffs have not sufficiently
                                   27   established defendants were aware of the alleged defect” at the time of purchase);
                                   28   Williams, 2022 WL 899847, at *4–6 (same, plus FAL claim); Ahern v. Apple Inc.,
                                                                                    -20-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 21 of 32 Page ID
                                                                    #:148


                                    1   411 F. Supp. 3d 541, 564–65 (N.D. Cal. 2019) (for fraudulent concealment under
                                    2   California law, a defendant “must have known of the defect at the time of sale”).
                                    3         B.     None of Plaintiff’s Fraud-Based Claims Are Pled with Particularity.
                                    4         Rule 9(b) requires that when “alleging fraud or mistake, a party must state with
                                    5   particularity the circumstances constituting fraud or mistake.” See Desaigoudar v.
                                    6   Meyercord, 223 F.3d 1020, 1022–23 (9th Cir. 2000) (fraud must be pled “with a high
                                    7   degree of meticulousness”). Where CLRA and UCL claims (under each of the
                                    8   fraudulent, unlawful, and unfair prongs) are based on misrepresentation or omission,
                                    9   the “heightened pleading requirements of Rule 9(b)” apply. Watkins v. MGA Ent.,
                                   10   Inc., 550 F. Supp. 3d 815, 833 (N.D. Cal. 2021) (citing Kearns v. Ford Motor Co.,
                                   11   567 F.3d 1120, 1125 (9th Cir. 2009)). Similarly, “[c]laims pursuant to the FAL are
                                   12   subject to the heightened pleading requirements of Rule 9(b).” In re Outlaw Lab.,
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   LLP, 463 F. Supp. 3d 1068, 1085 (S.D. Cal. 2020).
       DENTONS US LLP



         619 236 1414




                                   14         The “particularity” requirement insists that a plaintiff specifically plead:
                                   15   (1) the contents of the misrepresentation; (2) the identity of the speaker and their
                                   16   authority to speak; (3) when and where the statements were made; (4) whether the
                                   17   statements were oral or written and, in the latter instance, the specific documents
                                   18   containing the representations; and (5) how the representations are allegedly false or
                                   19   misleading. Moore v. Kayport Package Express, Inc., 885 F.2d 531, 549 (9th
                                   20   Cir. 1989). “Conclusory allegations are insufficient, and the facts constituting the
                                   21   fraud must be alleged with specificity.” In re ConAgra Foods Inc., 908 F. Supp. 2d
                                   22   1090, 1097 (C.D. Cal. 2012). “Merely stating that a purchaser [read] a statement and
                                   23   then purchased a product in a particular year is not sufficient.” Stearns v. Select
                                   24   Comfort Retail Corp., 2009 WL 1635931, at *11 (N.D. Cal., June 5, 2009).
                                   25         Here, Plaintiff baldly alleges that “[Cosori] failed to disclose on Product
                                   26   packaging, on its website, on third-party retailer websites, or otherwise, that the
                                   27   Products posed a risk of fire or burning and/or that Defendant had received numerous
                                   28   reports of Products catching fire, burning, melting, overheating and smoking,
                                                                                   -21-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 22 of 32 Page ID
                                                                    #:149


                                    1   including reports of burn injuries and property damage.” (Compl., ¶ 39.) He does
                                    2   not identify the specific marketing materials he purports to quote, allege when and
                                    3   where he saw them or which particular statement influenced his purchasing decision,
                                    4   or how each statement is untrue or misleading in the context of the (unidentified)
                                    5   material. As a result, he fails to plead his fraud-based claims with the requisite degree
                                    6   of particularity. See, e.g., Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103–04
                                    7   (9th Cir. 2003) (claims grounded in fraud must satisfy the particularity requirement
                                    8   of Rule 9(b)); In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548–49 (9th Cir. 1994)
                                    9   (“[A] plaintiff must set forth, as part of the circumstances constituting fraud, an
                                   10   explanation as to why the disputed statement was untrue or misleading when made.”);
                                   11   Kearns, 567 F.3d at 1125–26 (dismissal affirmed where plaintiff did not specify the
                                   12   ads, “when he was exposed to them,” or “which ones he found material” and “relied
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   upon in making his decision to buy”).
       DENTONS US LLP



         619 236 1414




                                   14         Instead, Plaintiff merely alleges that Cosori “concealed” the risk of defect,
                                   15   suggesting that Cosori “failed to disclose and actively concealed the known risk of
                                   16   fire even though it had exclusive knowledge of that risk.” (Compl. ¶ 7.) But these
                                   17   generalized and conclusory statements, which omit any substantive allegations about
                                   18   when or if Cosori learned of the alleged risk, cannot satisfy Rule 9(b)’s heightened
                                   19   pleading standard. See, e.g., Tait v. BSH Home Appliances Corp., 2011 WL 1832941,
                                   20   at *2–3 (C.D. Cal., May 12, 2011) (references to misstatements on defendant’s
                                   21   website and in operating instructions offered “no information regarding when, or
                                   22   even if, each of the named Plaintiffs viewed” either); Hoey v. Sony Elec., Inc., 515 F.
                                   23   Supp. 2d 1099, 1106 (N.D. Cal. 2007) (conclusory concealment and/or nondisclosure
                                   24   allegations did not comply with Rule 9(b), resulting in dismissal of fraudulent
                                   25   concealment, UCL, CLRA claims).
                                   26   //
                                   27   //
                                   28   //
                                                                                    -22-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 23 of 32 Page ID
                                                                    #:150


                                    1         C.     Plaintiff’s Claim Under the Unlawful and Unfair Prongs of the UCL
                                    2                Must Also Be Dismissed.
                                    3         Plaintiff grounds his UCL “unlawful” prong claim on Cosori’s purported
                                    4   breaches of the FAL, CLRA, and Section 5 of the Federal Trade Commission Act
                                    5   (“FTCA”). (Compl. ¶ 105.) First, as discussed, because Plaintiff has failed to state
                                    6   a claim under the FAL and CLRA, his claim under the ‘unlawful’ prong of the UCL
                                    7   cannot independently stand. See Williams, 2022 WL 899847, at *5. The FTCA also
                                    8   cannot serve as the statutory basis for his claim because “the FTCA … does not
                                    9   provide individuals with a private right of action and cannot be used as a predicate
                                   10   for a UCL claim.” BMA LLC v. HDR Glob. Trading Ltd., 2021 WL 4061698, at *16
                                   11   (N.D. Cal. Sept. 7, 2021) (internal quotation marks omitted); see Schmitt v. SN
                                   12   Servicing Corp., 2021 WL 3493754, at *10 (N.D. Cal. Aug. 9, 2021) (same).
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13         Moreover, where, as here, a plaintiff “has alleged a ‘unified course of
       DENTONS US LLP



         619 236 1414




                                   14   fraudulent conduct,’ Rule 9(b)’s particularity requirement [also] applies to the
                                   15   unlawful and unfair prong of the UCL.” Hadley v. Kellogg Sales Co., 243 F. Supp.
                                   16   3d 1074, 1094 (N.D. Cal. 2017) (quoting Kearns, 567 F.3d at 1126–27). Specifically,
                                   17   “[a] UCL claim of any kind must identify the particular section of the statute that was
                                   18   violated and must describe with reasonable particularity the facts supporting the
                                   19   violation.” Schmitt, 2021 WL 3493754, at *9. So even if the FTCA provided
                                   20   grounds for Plaintiff’s claims (it does not), his haphazard reference to the statute
                                   21   cannot save his claim from dismissal. See Baba v. Hewlett-Packard Co., 2010 WL
                                   22   2486353, at *6 (N.D. Cal. Jun. 16, 2010) (dismissing UCL claim where plaintiffs
                                   23   conclusory alleged defendants violated six statutes without considering that each
                                   24   “has its own line of case law and its own set of elements” and requiring plaintiffs to
                                   25   “plead with particularity how the facts of this case pertain to that specific statute”).
                                   26         In addition, the Complaint fails to plead a cause of action under the UCL
                                   27   “unfair” prong because unfairness must “be tethered to some legislatively declared
                                   28   policy.” Cel-Tech Comm’cns, Inc. v. L.A. Cellular Tele. Co., 20 Cal. 4th 163, 165
                                                                                    -23-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 24 of 32 Page ID
                                                                    #:151


                                    1   (Cal. 1999). The Complaint fails to adequately invoke a statute or any “legislatively
                                    2   declared policy” whose violation would serve as the basis for liability and the facts
                                    3   here belie the plausibility of any such claim. Here, Cosori has worked diligently with
                                    4   the CPSC to identify, isolate, and address a potential safety issue related to an
                                    5   extremely limited number of Products and ensure consumer safety by voluntarily
                                    6   effectuating the Recall in compliance with CPSC guidelines and regulations. (Liauw
                                    7   Dec. ¶¶ 4-5.)
                                    8         D.     The Economic Loss Doctrine Bars Plaintiff’s Common Law Fraud
                                    9                Claims.
                                   10         Plaintiff’s common law fraud claim is further barred by the economic loss
                                   11   doctrine, which precludes recovery in tort for purely economic losses arising from
                                   12   contract. See Kelsey v. Nissan N. Am., 2020 WL 4592744, at *1 (C.D. Cal. July 15,
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   2020); Robinson Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 988 (Cal. 2004)
       DENTONS US LLP



         619 236 1414




                                   14   (holding remedy in “contract alone” where purchaser suffers only “economic
                                   15   losses”). Plaintiff alleges no personal injury or property damage here; rather,
                                   16   Plaintiff’s sole alleged harm is that he would not have purchased or would have paid
                                   17   less for the air fryer had he known of its alleged defects. (See Compl. ¶ 172.) This
                                   18   is pure economic loss; alleged damages for inadequate value and replacement of the
                                   19   allegedly defective Products are strictly contractual in nature.        See Robinson
                                   20   Helicopter, 34 Cal. 4th at 988 (a purchaser must “recover in contract for purely
                                   21   economic loss due to disappointed expectations, unless he can demonstrate harm
                                   22   above and beyond a broken contractual promise.”). See Mosqueda v. Am. Honda
                                   23   Motor Co., Inc., 443 F.Supp. 3d 1115, 1134 (C.D. Cal. 2020) (economic loss rule
                                   24   bars fraudulent omission claim); Kelsey, 2020 WL 4592744, at *1 (“[T]o avoid the
                                   25   limitations of the economic loss rule, a plaintiff must plead and prove harm premised
                                   26   on a ‘defendant’s affirmative misrepresentations’ that led to ‘personal damages
                                   27   independent of the plaintiffs[’] economic loss.”) (citation omitted).
                                   28   //
                                                                                   -24-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 25 of 32 Page ID
                                                                    #:152


                                    1         E.     Plaintiff’s Warranty Claims Are Insufficiently Pled.
                                    2                1.     Plaintiff’s Breach of Express Warranty Is Inadequately Pled
                                    3                       on Its Face.
                                    4         To state a breach of express warranty claim, a plaintiff “must allege (1) the
                                    5   exact terms of the warranty; (2) reasonable reliance thereon; and (3) a breach of
                                    6   warranty which proximately caused plaintiff’s injury.” Minkler v. Apple, Inc., 65 F.
                                    7   Supp. 3d 810, 817 (N.D. Cal. 2014). Here, Plaintiff has failed to adequately allege
                                    8   any of these elements.
                                    9         First, Plaintiff fails to allege the exact terms of the express warranty, which is
                                   10   a written contract. Rather, he generally alleges Cosori “made representations to the
                                   11   public, including Plaintiff[] and the Class, by its advertising, packaging, labeling, and
                                   12   other means.” (Compl. ¶ 142.) Plaintiff also recites a litany of “safety features” he
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   alleges Cosori used to promote the Products, and claims he was “exposed” to these
       DENTONS US LLP



         619 236 1414




                                   14   representations, “including. . . that the Products were effective cooking appliances,
                                   15   technologically advanced, and included temperature control and overheat safety
                                   16   features.” (Compl. ¶¶ 73, 78.) Plaintiff also relies on a promotion that the products
                                   17   are “Safe and Eco-Friendly!” (Compl. ¶ 33.) But these kinds of “[v]ague statements
                                   18   regarding reliability, dependability, and safety are not actionable express warranties.”
                                   19   Smith v. LG Elecs. U.S.A., Inc., 2014 WL 989742, at *5 (N.D. Cal. Mar. 11, 2014);
                                   20   see Watkins v. MGA Ent., Inc., 574 F. Supp. 3d 747, 756 (N.D. Cal. 2021); Mandani
                                   21   v. Volkswagen Grp. of Am., Inc., 2019 WL 652867, at *4 (N.D. Cal. Feb. 15, 2019).
                                   22         Second, Plaintiff fails to allege actual reliance on any statement, which is
                                   23   required where there is no privity between consumer (Plaintiff) and manufacturer
                                   24   (Cosori). See Watkins v. MGA Ent., Inc., 574 F. Supp. 3d 747, 758 (N.D. Cal. 2021).6
                                   25
                                        6
                                   26    Plaintiff alleges that he was “in privity with Defendant by virtue of [his] interactions
                                        with Defendant and/or its retailers, who acted as Defendant’s agents.” (Compl.
                                   27   ¶ 146.) This legal conclusion should not be countenanced. Iqbal, 556 U.S. at 678.
                                        Tellingly, Plaintiff fails to actually identify any such “interactions” with Cosori. And
                                   28   this agency theory of privity has specifically been rejected by the Ninth Circuit.

                                                                                    -25-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 26 of 32 Page ID
                                                                    #:153


                                    1   Indeed, it is blackletter law that an end consumer who buys from a retailer does not
                                    2   have privity with the manufacturer. Clemens v. DaimlerChrysler Corp., 534 F.3d
                                    3   1017, 1023 (9th Cir. 2008). Plaintiff’s general allegation that he “reviewed and relied
                                    4   on Defendant’s representations and omissions when purchasing and using the
                                    5   Product” (Compl. ¶¶ 74, 79) cannot withstand a motion to dismiss. Marrujo v.
                                    6   Coloplast Corp., 2020 WL 3791637, at *3 (S.D. Cal. July 7, 2020) (statement that
                                    7   plaintiffs “reasonably relied” does not satisfy “the Twombly/Iqbal pleading standard”
                                    8   as it failed to allege personal reliance on “specific representations in selecting” the
                                    9   product); Sanders v. Apple Inc., 672 F. Supp. 2d 978, 988 (N.D. Cal. 2009)
                                   10   (dismissing express warranty claim where plaintiff asserted only “that he looked at
                                   11   Apple’s website,” but failed “to allege reasonable reliance on any specific
                                   12   representations Apple made with respect to the [product]”) (emphases added).
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13         Finally, Plaintiff fails to identify which of these alleged terms led to a breach
       DENTONS US LLP



         619 236 1414




                                   14   of warranty, much less how and when that breach occurred. See Smith, 2014 WL
                                   15   989742, at *6 (finding no breach of express warranties because plaintiff has not
                                   16   alleged that recall “issue rendered the alleged express warranties untrue during the
                                   17   applicable one-year warranty period”).
                                   18                2.    Plaintiff’s Claim Fails Under the Terms of the Limited
                                   19                      Warranty.
                                   20         Plaintiff also fails to allege breach of express warranty for a separate and
                                   21   critical reason: “[C]aselaw makes clear a breach of express warranty claim is not
                                   22   premised on defects alone, but rather, on how the seller responds to the buyer’s
                                   23   request to remedy those defects pursuant to the terms of the express warranty.”
                                   24   Crown Cell Inc. v. Ecovacs Robotics Inc., 2022 WL 4087512, at *5 (N.D. Cal.
                                   25   Sept. 6, 2022) (emphasis added); Punian v. Gillette Co., 2016 WL 1029607, at *6
                                   26   (N.D. Cal. Mar. 15, 2016) (“An express warranty is not a representation that a product
                                   27
                                        Murphy v. DirecTV, Inc., 724 F.3d 1218, 1232 (9th Cir. 2013) (“Generally, retailers
                                   28   are not considered the agents of the manufacturers whose products they sell.”).
                                                                                   -26-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 27 of 32 Page ID
                                                                    #:154


                                    1   has no defects, but rather a promise to repair, replace, or refund a failed product.”).
                                    2   The actual terms of Cosori’s warranty, as well as Cosori’s response to any request to
                                    3   remedy an alleged defect, are critical to his claim. Although Plaintiff does not attach
                                    4   Cosori’s limited warranty to the Complaint, he repeatedly relies upon and references
                                    5   that warranty and the user manual in which it appears. (See, e.g., Compl. ¶¶ 148–50;
                                    6   ¶¶ 35–36.)7
                                    7         This warranty, which provides refunds within 30 days of purchase and product
                                    8   replacements within one year of purchase, directs the consumer to contact Cosori’s
                                    9   Customer Service department regarding any purported defect and provide a copy of
                                   10   the invoice and order number. (See Liauw Dec. ¶¶ 2–3; Ex. A thereto at pp. 22-23;
                                   11   Ex. B thereto at pp. 79-80.) Plaintiff alleges he “provide[d Cosori] with notice of its
                                   12   warranty breaches” (Compl. ¶ 145), but that purported notice (in a letter from
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   Plaintiff’s counsel dated March 28, 2023) was only received by Cosori’s registered
       DENTONS US LLP



         619 236 1414




                                   14   agent two days before the complaint was filed. (Liauw Dec. ¶ 8.) Tellingly, Plaintiff
                                   15   does not allege that he ever made a warranty claim to Cosori, let alone that Cosori
                                   16   failed to perform in response thereto. See Stearns v. Select Comfort Retail Corp.,
                                   17   2008 WL 4542967, at *5 (N.D. Cal. Oct. 1, 2008) (plaintiff failed to allege that she
                                   18   attempted to invoke her limited warranty or that defendant refused to remedy the
                                   19   alleged product defect pursuant to its terms).
                                   20         And here is the most dubious aspect of Plaintiff’s breach of warranty claim:
                                   21   even though Plaintiff’s claim is well beyond Cosori’s warranty period, Cosori has
                                   22   still offered Plaintiff a replacement through the CPSC-approved Recall—the exact
                                   23   same remedy provided by the limited warranty. (See Liauw Dec. ¶ 6.) Plaintiff
                                   24
                                        7
                                          The terms of the warranties are identical for both model numbers referenced in the
                                   25   Complaint. (See Liauw Dec. Ex A at 22-23; Ex. B at 79-80.) Because Cosori’s
                                        limited warranty is incorporated into and part of the Complaint, the Court may take
                                   26   judicial notice of it. See, e.g., Cover v. Windsor Surry Co., 2016 WL 520991, at *2
                                        (N.D. Cal. Feb. 10, 2016) (“courts may consider relevant documents not physically
                                   27   attached to the plaintiff’s pleading if (1) the contents are central to the allegations and
                                        (2) no party questions the authenticity of the documents.”). (See Request for Judicial
                                   28   Notice filed contemporaneously herewith at 3–4).)
                                                                                     -27-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 28 of 32 Page ID
                                                                    #:155


                                    1   nevertheless baselessly alleges that Cosori’s replacements are “inadequate” (Compl.
                                    2   ¶ 68) without even having registered to receive one. In any event, California courts
                                    3   routinely reject such conclusory objections to a warranty process. See, e.g., Cheng
                                    4   v. BMW of N. Am., LLC, 2013 WL 12133886, at *4 (C.D. Cal. Apr. 12, 2013)
                                    5   (rejecting consumer’s argument that providing a “repair opportunity would have been
                                    6   ‘futile’” for a breach of express warranty claim).
                                    7         Plaintiff’s allegation that Cosori’s “warranty period” is unconscionable is
                                    8   irrelevant because Cosori is offering exactly what Plaintiff would be entitled to under
                                    9   the warranty were his claim to have been timely. (See Compl. ¶ 150.) In his haste to
                                   10   throw something to the wall that sticks, Plaintiff also ignores that Cosori’s one-year
                                   11   warranty “corresponds to the maximum limit permitted under California law.” See
                                   12   Marchante v. Sony Corp. of Am., Inc., 801 F. Supp. 2d 1013, 1023 (S.D. Cal 2011).
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13         Plaintiff’s more general unconscionability arguments (Compl. ¶¶ 148–49)
       DENTONS US LLP



         619 236 1414




                                   14   similarly lack merit, including because of the options available to him. See Miller v.
                                   15   Ford Motor Co., 620 F. Supp. 3d 1045, 1057 (E.D. Cal. 2022) (“standard warranties,
                                   16   despite generally being non-negotiable, have routinely been upheld absent
                                   17   allegations the plaintiffs lacked other viable options to purchase a similar product or
                                   18   for obtaining additional warranty protections from the defendant”). Additionally,
                                   19   Plaintiff does not (and cannot) allege that Cosori “changed its standard warranty as a
                                   20   result of knowing about the [defect], or . . . took its alleged knowledge . . . into
                                   21   account in setting the warranty’s time . . . limitation,” which defeats his claim. Seifi
                                   22   v. Mercedes-Benz USA, LLC, 2013 WL 5568449, at *5 (N.D. Cal. Oct. 9, 2013); see
                                   23   Fisher v. Honda N.A., Inc., 2014 WL 2808188, at *9 (C.D. Cal. June 12, 2014) (no
                                   24   unconscionability where plaintiff did not plead defendant limited the warranty
                                   25   because it “was aware that the defect would only become manifest after the warranty
                                   26   period ended”).
                                   27   //
                                   28   //
                                                                                    -28-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 29 of 32 Page ID
                                                                    #:156


                                    1                3.     Plaintiff Does Not State a Claim for Breach of Implied
                                    2                       Warranty.
                                    3         Under California Commercial Code section 2314, a plaintiff alleging an
                                    4   implied breach of warranty claim must be in vertical privity with the defendant.
                                    5   Clemens, 534 F.3d at 1023. Plaintiff acknowledges he purchased his air fryer from
                                    6   Amazon.com, conceding the absence of privity. (Compl. ¶¶ 17, 19.) While Plaintiff
                                    7   alleges (as part of his express warranty claim) that he is a third-party beneficiary of
                                    8   the warranty (Compl. ¶ 147), the Ninth Circuit in Clemens expressly declined to
                                    9   recognize such an exception. See, e.g., Obertman v. Electrolux Home Care Prod.,
                                   10   Inc, 482 F. Supp. 3d 1017, 1029 (E.D. Cal. 2020) (following “the precedent set by
                                   11   Clemens, and in light of the lack of authority holding otherwise” declining “to find a
                                   12   new exception to the vertical privity requirement” for implied warranty claims)
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   (citing Clemens, 534 F.3d at 1023). Nor should this legal conclusion be credited by
       DENTONS US LLP



         619 236 1414




                                   14   the Court. Iqbal, 556 U.S. at 678.
                                   15         In addition, because the implied warranty of merchantability only applies to
                                   16   the initial condition of a product, Plaintiff must demonstrate that his new product was
                                   17   not merchantable at the time of purchase. See Hovsepian v. Apple, Inc., 2009 WL
                                   18   2591445, at *7 (N.D. Cal. Aug. 21, 2009); Berenblat v. Apple, Inc., 2009 WL
                                   19   2591366, at *3 (N.D. Cal. Aug. 21, 2009). Indeed, to assert an implied warranty
                                   20   claim, “it is not enough to allege that a product line contains a defect or that a product
                                   21   is at risk for manifesting this defect; rather, the plaintiffs must allege that their
                                   22   product actually exhibited the alleged defect.” Taragan v. Nissan N. Am., Inc., 2013
                                   23   WL 3157918, at *4 (N.D. Cal. June 20, 2013) (emphasis added by court) (quoting
                                   24   O’Neil v. Simplicity, Inc., 574 F.3d 501, 503 (8th Cir. 2009)); accord McGee v.
                                   25   Mercedes-Benz USA, LLC, 612 F. Supp. 3d 1051, 1061 (S.D. Cal. 2020) (“because
                                   26   there is no evidence that any defect manifested in the vehicle, Plaintiff’s argument
                                   27   that the Takata Recall interim notice letter raises a triable issue of material fact that
                                   28   the vehicle was fit for its intended use is unpersuasive”). But Plaintiff does not plead
                                                                                     -29-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 30 of 32 Page ID
                                                                    #:157


                                    1   that his Product overheated or otherwise exhibited any alleged defect whatsoever,
                                    2   much less at the time of purchase, so he cannot establish an implied warranty claim.
                                    3         F.     Differences in State Laws Preclude a Nationwide Class.
                                    4         Plaintiff improperly seeks to apply California law to the claims of the
                                    5   nationwide putative class. (Compl. ¶¶ 85, 96.) As justification, Plaintiff asserts that
                                    6   “California has the greatest interest in this lawsuit” because Cosori is headquartered
                                    7   there, and the “false and misleading representations and omissions” originated from
                                    8   California. (Id. ¶¶ 23–24.) But Ninth Circuit precedent forecloses this unjustified
                                    9   rationalization. See Mazza v. Am. Honda Motor Co., 666 F.3d 581 (9th Cir. 2012),
                                   10   overruled in part on other grounds by Olean Wholesale Grocery Coop. v. Bumble
                                   11   Bee Foods LLC, 31 F.4th 651 (9th Cir. 2022) (decertifying “nationwide class” due to
                                   12   variances between California consumer protection laws and those of other states);
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13   Vinci v. Hyundai Motor Am., 2018 WL 6136828 (C.D. Cal. Apr. 10, 2018)
       DENTONS US LLP



         619 236 1414




                                   14   (dismissing with prejudice nationwide CLRA, FAL, UCL, warranty, and fraud
                                   15   claims brought against defendant headquartered in California).
                                   16        In Mazza, the Ninth Circuit held that “each class member’s consumer protection
                                   17   claim should be governed by the consumer protection laws of the jurisdiction in
                                   18   which the transaction took place.”8 Id. at 594. Indeed, each state has the greatest
                                   19   interest in protecting its own citizens. Id. at 593; see, e.g., McKinney, 2022 WL
                                   20   17736777, at *7 (“While Corsair is headquartered in California . . . Plaintiffs allege
                                   21   that the class ‘includes citizens of most (or potentially all) states’. . . who presumably
                                   22   purchased Corsair’s products while located in their home states”). The Ninth Circuit
                                   23
                                   24   8
                                         Notably, California law materially differs from the laws of other states. Mazza, 666
                                        F.3d at 590. Vinci, 2018 WL 6136828, at *7 (dismissing with prejudice nationwide
                                   25   CLRA, FAL, UCL, warranty, and fraud claims, and noting differences including
                                        scienter, reliance, statutes of limitations, exemptions, and remedies); Lemus, 613 F.
                                   26   Supp. 3d at 1278 (differences for express warranty); Darisse v. Nest Labs, Inc., 2016
                                        WL 4385849, at *11 (N.D. Cal. Aug. 15, 2016) (differences in privity, reliance, and
                                   27   notice for express warranty between all fifty states, and privity, notice, and class
                                        action availbility for implied warranty claims). For a general overview of these
                                   28   differences, see Exhibits E through G to Cosori’s Request for Judicial Notice.
                                                                                     -30-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 31 of 32 Page ID
                                                                    #:158


                                    1   concluded that applying California law to non-residents who purchased their
                                    2   products outside of California was improper, despite that defendant was
                                    3   headquartered in California and the allegedly fraudulent misrepresentations
                                    4   emanated from California. See id. at 590. In that vein, numerous courts, including
                                    5   many in this District, have “dismissed multi-state claims at the pleading stage.”
                                    6   Lemus v. Rite Aid Corp., 613 F. Supp. 3d 1269, 1278 (C.D. Cal. 2022).9 The same
                                    7   result should follow here. See Schepler v. Am. Honda Motor Co., 2019 WL 398000,
                                    8   at *6 (C.D. Cal. Jan. 29, 2019) (applying Mazza on a motion to dismiss noting the
                                    9   absence of “an actual need for further relevant factual development”).
                                   10   IV.   CONCLUSION
                                   11         For the foregoing reasons, the Complaint should be dismissed in its entirety
                                   12   with prejudice.
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13                                              Respectfully submitted,
       DENTONS US LLP



         619 236 1414




                                   14   Dated: May 31, 2023                        DENTONS US LLP
                                   15
                                                                                   By: /s/Sarah Carlson____________
                                   16                                                   Sarah Carlson
                                   17                                              Attorneys for Defendant
                                                                                   Arovast Corporation
                                   18
                                   19
                                   20
                                   21
                                   22
                                   23
                                   24
                                   25
                                   26
                                   27   9
                                         See also Nazos v. Toyota Motor Corp., 2022 WL 17078882, at *7 (C.D. Cal.
                                        Oct. 13, 2022) (“many district courts have applied Mazza at the pleading stage”);
                                   28   Vinci, 2018 WL 6136828, at *5 (collecting cases).
                                                                                  -31-
                                  Case 8:23-cv-00599-JWH-JDE Document 27-1 Filed 05/31/23 Page 32 of 32 Page ID
                                                                    #:159


                                    1             CERTIFICATION OF COMPLIANCE WITH RULE 11-6.2
                                    2         The undersigned, counsel of record for Defendant Arovast Corporation,
                                    3   certifies that this brief complies with the page limit set by court order dated April 11,
                                    4   2023 (Dkt 13).
                                    5
                                        Dated: May 31, 2023                           DENTONS US LLP
                                    6
                                    7
                                                                                      By: /s/Sarah Carlson____________
                                    8                                                      Sarah Carlson
                                    9                                                 Attorneys for Defendant
                                                                                      Arovast Corporation
                                   10
                                   11
                                   12
4655 EXECUTIVE DRIVE, SUITE 700
 SAN DIEGO, CALIFORNIA 92121




                                   13
       DENTONS US LLP



         619 236 1414




                                   14
                                   15
                                   16
                                   17
                                   18
                                   19
                                   20
                                   21
                                   22
                                   23
                                   24
                                   25
                                   26
                                   27
                                   28
                                                                                    -32-
